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UNITED STATES OF AMERICA
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               v.                                   )       Criminal No, 5:22-cr-58
                                                    )
SERHAT GUMRUKCU,
              Defendant.


                              S   TIPULATED PROTECTIVE ORDER

        On January 30,2023, the parties submitted the Joint Motion for Protective Order. For

good cause shown, the Court hereby GRANTS the Motion and orders as follows:

        1.     The govemment       will produce discovery material to defense counsel designated                                as


"Protected Discovery" in the indices/spreadsheets provided along with discovery or otherwise

identified inthe govemment's sole discretion in writing as such.

       2.      The Protected Discovery may include discovery material, in whatever format, that

either individually or collectively could be used to discern the identification ofgovernment

witnesses and informants (for example, because it describes the individuals, their activities, or

their assistance to law enforcement, contains any statements ofthe individuals, capfures the

individuals image or voice, or contains any other information that could reasonably be used to

discern the identity ofthe individuals). This Protected Discovery may include reports                     of

interviews, affidavits, sworn statements, audio and video recordings, photographs, or other

materials. Discovery relating to grand   ju.y transcripts will   be handled outside of this order.

       3.      The Protected Discovery shall not be provided, copied or disseminated to

anyone other than defense counsel or oodefense counsel's team" (as defined below) and must
remain in the custody of defense counsel or counsel's team at all times, except as otherwise

permitted in this Order.

       4.      o'Defense
                           counsel's team" includes attorneys of record, or attorneys employed by

or retained by attorneys of record, or attorneys retained by Defendant (collectively, "defense

counsel"), paralegals, investigators, translators, litigation supportpersonnel and secretarial

staffemployed by defense counsel who are assigned to assist in the preparation of the defense,

ESI vendors, expert witnesses (both testifying and consulting). Defense counsel's team also

includesthose persons who are formally engaged to assist in the preparation of the defense. A1l

members ofdefense counsel' s team shall be subject to this Protective Order.

       5.      Defense counsel's team may take reasonable and necessary steps to load the

Protected Discovery into a password protected review platform for access and review.

       6.      Defense counsel's team may show data or records from the Protected

Discovery and/or information contained in the Protected Discovery to potential wifiresses in

connection with the preparation and litigation of the legal defense in this case or in

connection   with the preparation   and litigation of the legal defense in     civil   cases in   which

Defendant is named and are identified in this paragraph (the "Civil Cases). The Civil Cases

are: (l) The Estate af Gregory Davis, Melissa Davis, Administrator, and Melissa Davis,

individually v. Serhat Daniel Gumrukcu-Case No. 22-cv-00213-gwc, pending in the United

States District Court for the District of Verm ont; (Z)_Enochian Biosciences, Inc. v. Serhat

Gumrukcu, et al., Case No. 22STcv3407l,filed in the Superior Court of the State                   of

California for the County of Los Angeles; and (3) nS Group APS v. GWRS Holdings, LLC,

et al., Case No. 22STCV26335,       filed in the Superior Court of the State of California for the

County of Los Angeles.
       7.     Defense counsel's team may disclose or provide access to Protected

Discovery and/or information contained in the Protected Discovery to attorneys pursuant to

joint defense or common interest agreements in connection with the preparation and

litigation of the legal defense in this case or in connection with the preparation and litigation

of the legal defense in the Civil Cases, provided that such individuals are provided with and

sign a copy of this Protective Order affirming that they understand the terms of the

Protective Order and understand their obligation not to disclose the information, prior to

reviewing the Protected Discovery. Defense counsel shall retain a copy of all such signed

orders and provide copies of such orders to the government. Protected Discovery cannot be

disclosed as part of civil discovery without further order of this Court.

       8.      The Defendant may designate any discovery materials in his reciprocal discovery

as Protected Discovery.

       9.      Copies of Protected Discovery produced by Defendant in his reciprocal

discovery shall not be provided to anyone other than 'othe prosecution team" consisting of

counsel of record for the Government, and their office stafe investigators, and to potential

fact or expert witnesses or consultants only to the extent that Government counsel believes

is necessary to assist inthe prosecution of the Defendant inthis matter. The prosecution

team may not provide or share any such Protected Discovery with any foreign governments,

agents or agencies of foreign governments, or foreign law enforcement personnel.

        10.    Defense counsel shall review the terms ofthis Protective Order with the

defendant andmembers ofthe defense counsel's team prior to reviewing the Protected

Discovery. Further, counsel of record shall have everymemberof thedefensecounsel'steam

signa copy of this Order. affirmingthatthey understand the terms ofthe Protective Order,
prior to reviewing the Protected Discovery, and maintain those copies in his files. Counsel              of

record for the Government shall review the terms of this Protective Order with the

prosecution team and shall have every member of the prosecution team sign a copy of this

Order and maintain those copies in its files.

        I   1   .   The defendant may inspect and review the Protected Discovery, and may retain the

materials in electronic format pursuant to the rules and regulations of the      jail housing him.

        12.         Protected Discovery shall only be used in the preparation of the prosecution of,

defense of, or in plea negotiations in connection with this matter or in the defense of the     Civil

Cases and for no other pu{pose.

        13      .   Absent prior agreement ofthe designating party or permission from the Court,

Protected Discovery shall not be included in any public filing with the Court, and instead shall

be submitted under seal.

        14.         Ifa designating party becomes awarethatthejustification fordesignating           a

particular item      as   Protected Discovery no longer exists, the designating party shall advise the

receiving parfy and the Court that such material is no longer subject to the Protective Order.

        15.         The discovery in this case may also include materials containing Personally

Identifiable Information (PII), which defense counsel may share only if the PII has flrst been

redacted from the Protected Discovery.         If a member of defense   counsel's team wishes to use

discovery material containing unredacted PII with any witness or potential witness, or to make

furttrer disclosure or dissemination of discovery material containing unredacted PII, defense

counsel must first make ex parte application to the Court explaining the basis for the disclosure

of PII, and may make such disclosure only after such application is granted by the Court.
        L6.      In the event defense counsel or the government seek to use discovery material

containing unredacted PII in a filing with a court or during a court proceeding, such parly will

comply with Fed. R. Cr. P.49.1(a), will ensure that court transcripts are appropriately redacted to

protect PII, and   will   seek permission from the Court before any such discovery or reciprocal

discovery material with unredacted PII is publicly filed.

        17   .   Either party to this Protective Order may petition the Court rtany time for a

modification of the Protective Order. Either party may petition the Court at any time to challenge

the designation of material as ProtectedDiscovery provided, however, that the party challenging

the designation must first explain the basis for his/her concerns in writing to the designating parl.y,

and the designating party must have a reasonable time to respond to those concerns.

        IT IS SO ORDERED.

        Dated at Burlington, in the District of Vermont, this 31st day of Januaq'-, 2023.




                                                 HON. GEOFFREY W. CRAWFORD
                                                 United States District Judge


Presented bv:

/s/ Paul J. Van de Graqf
PAUL J. VAN DE GRAAF
JONATHAN A. OPHARDT
Assistant U. S. Attorneys

/s/ David V. Kirby_
DAVID V. KIRBY, ESQ.
O'Connor & Kirby, P.C.

Counsel for Defendant SERHAT GUMRUKCU
